Case 2:03-cV-02659-.]P|\/|-de Document 59 Filed 09/02/05 Page 1 of 2 Page|D 140

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, BY _____o.<,.
UNITED STATES DISTRICT COURT paso JL

WESTERN DISTRICT OF TENNESSEE USSEP "2 PH S=Zl

 

 

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ISAAC .'B. TIGRETT, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
UNITED STATES OF AMERICA, CASE NO: 03-2659 Ml/V
Defendant.

 

AMENDED JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Amended Opinion and Order Following Non-Jury 'I'rialr
entered September¢é;, 2005, judgment is hereby entered in favor of
Plaintiff Isaac B. Tigrett and against Defendant United States of
America in the amount of $8,521.00 plus interest accruing from
April 15, 1998, until paid. Judgment is hereby entered in favor
of Defendant and against Plaintiff regarding all of Plaintiff’s
remaining claims.

APPROVED{ C(}

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JON P. MCCALLA

UN TED STATES DISTRICT COURT

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:03-CV-02659 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

